       Case
     Case    1:10-cv-01075-YK
          3:02-at-06000       Document
                          Document 661 1 Filed
                                          Filed05/19/2010
                                                05/19/10 Page 1 of1 6of 6
                                                           Page



                            UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF PENNSYLVANIA


CHARLEEN McDANIEL                           )    Case Number
                                            )
               Plaintiff                    )
                                            )
         vs.                                )    CIVIL COMPLAINT
                                            )
JON BARRY & ASSOCIATES, INC.                )
a/k/a PARAGON REVENUE GROUP                 )    JURY TRIAL DEMANDED
                                            )
               Defendant                    )
                                            )



                            COMPLAINT AND JURY DEMAND

         COMES NOW, Plaintiff, Charleen McDaniel, by and through his undersigned

counsel, Brent F. Vullings, Esquire of Warren & Vullings, LLP, complaining of Defendant

and respectfully avers as follows:

                       I.      INTRODUCTORY STATEMENT

         1.    Plaintiff, Charleen McDaniel, is an adult natural person and brings this

action for actual and statutory damages and other relief against Defendant for violations of

the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. ³)'&3$´ZKLch

prohibits debt collectors from engaging in abusive, deceptive and unfair practices.

                                 II.     JURISDICTION

         2.    Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

§1337.
       Case
     Case    1:10-cv-01075-YK
          3:02-at-06000       Document
                          Document 661 1 Filed
                                          Filed05/19/2010
                                                05/19/10 Page 2 of
                                                           Page  26of 6



       3.      Venue in this District is proper in that the Defendant transacts business here

and Defendant maintains a registered office in this District.

                                 III.     PARTIES

       4.      Plaintiff, Charleen McDaniel ³3ODLQWLII´is an adult natural person residing

at 4364 Old Julian Road, Julian, NC 27283. At all times material and relevant hereto,

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       5.      Defendant, Jon Barry & Associates, Inc. a/k/a Paragon Revenue Group

³'HIHQGDQW´DWDOOWLPHVUHOHYDQWKHUHWRLVDQGZDVDCorporation engaged in the

business of collecting debt within the State of Texas and the Commonwealth of

Pennsylvania with its principal place of business located at 216 Le Phillip Court, Concord,

NC 28025-2954 and a registered office located at 116 Pine Street, Suite 320, Harrisburg,

PA 17101.

       6.      Defendant is engaged in the collection of debts from consumers using the

mail and telephone. Defendant regularly attempts to collect consumer debts alleged to be

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§1692a(6).

                           IV.     FACTUAL ALLEGATIONS

       7.      In mid-February 2010, the Plaintiff began receiving phone calls from the

Defendant attempting to collect a debt.

       8.      The alleged debt was due to Moses Cone Health System for medical

expenses in the amount of $333.60.
       Case
     Case    1:10-cv-01075-YK
          3:02-at-06000       Document
                          Document 661 1 Filed
                                          Filed05/19/2010
                                                05/19/10 Page 3 of3 6of 6
                                                           Page



       9.       The Plaintiff informed the Defendant that she was working with the law

firm of Persels and Associates, LLC, however, the Defendant willfully refused to work

with Persels.

       10.      On or around February 18, 2010, Persels sent a cease and desist letter to the

Defendant. 6HH([KLELW³$´DWWDFKHGKHUHWR

       11.      After receiving the letter, the Defendant continued to contact the Plaintiff

via telephone demanding payments.

       12.      On or around April 12, 2010, the Defendant has again contacted the

Plaintiff by sending a letter seeking payment on the alleged debt. 6HH([KLELW³%´

attached hereto.

       13.      The letter from the Defendant stated that the Plaintiff had ignored all

previous requests for payment on the alleged amount due.

       14.      The Plaintiff continues to receive calls from the Defendant in which the

Defendant refuses to contact Persels instead.

       15.      The Defendant acted in a false, deceptive, misleading and unfair manner

when they engaged in conduct the natural consequence of which is to harass, oppress or

abuse such person in connection with the collection of a debt.

       16.      The Defendant acted in a false, deceptive, misleading and unfair manner by

threatening to take action that it did not intend to take for the purpose of coercing Plaintiff

to pay the debt.

       17.      The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and
       Case
     Case    1:10-cv-01075-YK
          3:02-at-06000       Document
                          Document 661 1 Filed
                                          Filed05/19/2010
                                                05/19/10 Page 4 of
                                                           Page  46of 6



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adequately review those actions to insure compliance with the law.

       18.     At all times pertinent hereto, Defendant was acting by and through it agents,

servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.

       19.     At all times pertinent hereto, the conduct of Defendant as well as its agents,

servants and/or employees, was malicious, intentional, willful, reckless, negligent and in

wanton disregard for federal and state law and the rights of the Plaintiff herein.

       20.     $VDUHVXOWRI'HIHQGDQW¶VFRQGXFW3ODLQWLIIKDVVXVWDLQHGDFWXDOGDPDJHV

LQFOXGLQJEXWQRWOLPLWHGWRLQMXU\WR3ODLQWLII¶VUHSXWDWLRQLQYDVLRQRISULYDF\GDPDJHWR

3ODLQWLII¶VFUHGLWRXW-of-pocket expenses, physical, emotional and mental pain and anguish

and pecuniary loss and he will continue to suffer same for an indefinite time in the future,

all to his great detriment and loss.

                                       COUNT I ± FDCPA

       21.     The above paragraphs are hereby incorporated herein by reference.

       22.     At all times relevant hereto, Defendant was attempting to collect an alleged

debt which was incurred by Plaintiff for personal, family or household purposes and is a

³GHEW´DVGHILQHGE\86&D

       23.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of:

               §§ 1692c(a)(2)           After it knows the consumer to be represented by an

                                        attorney unless attorney consents or is unresponsive
        Case
      Case    1:10-cv-01075-YK
           3:02-at-06000       Document
                           Document 661 1 Filed
                                           Filed05/19/2010
                                                 05/19/10 Page 5 of5 6of 6
                                                            Page



                   §§ 1692d               Any conduct the natural consequence of which is to

                                          harass, oppress or abuse any person

                   §§ 1692d(5)            Caused the phone to ring or engaged any person in

                                          telephone conversations repeatedly

                   §§ 1692e               Any other false, deceptive, or misleading

                                          representation or means in connection with the debt

                                          collection

                   §§ 1692e(2)            Character, amount, or legal status of the alleged debt

                   §§ 1692f               Any unfair or unconscionable means to collect or

                                          attempt to collect the alleged debt

        WHEREFORE, Plaintiff respectfully requests that this court enter judgment in his

favor and against Defendant, Jon Barry & Associates, Inc. a/k/a Paragon Revenue Group

and Order the following relief:

        a.         Actual damages;

        b.         Statutory damages pursuant to 15 U.S.C. §1692k;

        c.         5HDVRQDEOHDWWRUQH\¶VIHHV and costs of suit pursuant to 15 U.S.C. §1692k;

and

        d.         Such addition and further relief as may be appropriate or that the interests of

justice require.
  Case
Case    1:10-cv-01075-YK
     3:02-at-06000       Document
                     Document 661 1 Filed
                                     Filed05/19/2010
                                           05/19/10 Page 6 of
                                                      Page  66of 6



                           V.      JURY DEMAND

 Plaintiff hereby demands a jury trial as to all issues herein.



                                        Respectfully submitted,
                                        WARREN & VULLINGS, LLP

 Date: May 17, 2010                     BY: /s/ Brent F. Vullings_

                                        Brent F. Vullings, Esquire
                                        Warren & Vullings, LLP
                                        1603 Rhawn Street
                                        Philadelphia, PA 19111
                                        215-745-9800 Fax 215-745-7880
                                        Attorney for Plaintiff
